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                             Election                  Identification                    Certificate                            Issuance Procedures


Steps for Issuing an Original Election Identification Certificate                                                            EIC


1   Search for applicant                      on DLS Search                 Applicant    screen                      Search the records by entering           the    name and
    date of birth of the applicant Figure                                     1
                     a        If   record         is   found determine            if   applicant                    has a driver license     or identification       card      which

                             may be used                    as   a   photo identification                        for election   purposes
                                        i    If   the applicant             has a driver license or identification                           card   on file they may not be

                                             eligible            to apply for election                         identification   unless the card      has   been     expired

                                             more than 60 days
                     b       If    no record           is   found       select the Election identification                            certificate   tab   located   in   the    blue

                             bar in         DLS




             Search Applicant                                                                                                                                                      Fig 1




             I
                 f       f
                                                                        f




                     Name         Search


                                                                        F
                                                                        F
                                                                        F
                                                                        r

                     DOBiSSN         Search




2   Search the Search                       Election             identification     certificate                     screen   by entering     the name and date of birth

    of the applicant                 and select the Search                      Election Certificate                         button    located at the      bottom    of the

    screen       Figure             2




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                      Election                  Identification                           Certificate              Issuance Procedures




 Search Election                                     Certificate
                                                                                                                                                Fig 2




   Name       Search


                                                      FF

                                                       VOTER




                                                      1
   DCB1SSN          Search


                                                       02 04   96c




               a        If    an EIC record           is   found      it   will       appear on the Election Certificate               Search    Results   page
                       This       indicates the            person has previously                   been     issued    an EIC Select the         GO button          to

                       view the record and reissue the election identification                                          certificate     Fig 2A A demo on
                        reissuance             procedures            appears           later   in this   document




Election                      Certificate                      Search Results                                                               Fig 2a




  r      7`O VOTER                05125+1968       566443322     OTHER            M     601    AUSTIN    TRAVIS    34295548


  die    Bectior   erficate   Eecerc           o




  New    Election       Certificate

Issue   Election    Certificate




               b        If    the Election           Certificate           Search       Results     shows no record           is   found   ask for   proper
                        identification              and    a   voter       registration         card     or the applicant          may apply to register      to

                       vote and prove US                       citizenship              After verifying      the    documents         proceed to the next

                       screen          by selecting the Issue Election Certificate button                                      located at the     bottom      of   the

                       screen          to   initiate       the process            of issuing      an original      EIC Figure         2b




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                              Election                    Identification                    Certificate         Issuance Procedures




                                                                              M              1             FI                           1       M7




    Election                        Certificate                             Search Results

                                                                                                                                       Fig      2b

     No     record    found   forthe    criteria   procidecl




      New      Election        Certificate

    Issue    Election    Certificate




3    Type        in   the required                 information              on the Applicant       Information screen

                       a       The       fields       with a red asterisk                  are required   information    ie name DOB physical
                               address              Figure 3a



                                                                                  M            k            1                               1    7

    Applicant Information                                                                                                             Fig 3a



      Name




                                                               r
    T1                                                             r




      Personal          Info


                                                                   F

      Physical         Address




                                                               1                       1
                                                               TEXAS




                                                                   UNITED   STATES




                       b        Mailing            address             physical description        and other information      US citizen must be YES
                               to      be eligible for an election                    identification   certificate   Figure   3b




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                     Election              Identification                     Certificate        Issuance Procedures




             Mailing    Address      r Same      as physical



                                                                                                                              Fig   3b




                                                          TFXAS                                  •il




                                                          UNITED     STATES


                                          Information
             Physical       Description




             Other   Information



                                                             f1V




               c       If   the applicant        is   registering     to   vote select the Voter Registration            box and select the

                       applicants         Voter Status from the dropdown                    menu         Select   the   Next button to
                       proceed to the image capture screen                         Figure 3c



                                                        FV




                                                                              1   411111M
                                                                                                                               Fig 3c




                                    tm
4   When     processing          an EIC the thumbprints will                  NOT be captured Only the applicants              signature   and

    photograph         are     required

    Follow the steps below to bypass                      the      thumbprint collection       process    on systems used at non mega

    center    locations          Figure     4a
               a       Select No      Print from the drop down menu under the
                                          Left                                    print                       left


               b       Select No Right Print from the drop down menu under the right print and

               c       Select      the    Next button              and proceed to capture the applicants                photo and refresh the

                       images captured                Not shown




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                                                                                                                                                    TEX0506283
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                          Election                    Identification                         Certificate                                    Issuance Procedures



File     Configuration      Tools       Help


LOS    SIG        M ARC




                                    M
              I




                  Software                             Flag
Capture

                            ✓                                     Thumbprint     Capture
                                                                                                                                                                                          Fig 4a
                                Signature      Capture



                                                                                                                                                     If   the   fingerprints   didnt

                                                                                                                                                     pass the quality check
                                                                                                                                                     press Recapture to try
                                                                                                                                                     again
                                                                                       Captured Images
                                                                                                                                                     If   both fingerprints    have
                                                                                                                                                     passed  the cluality check
                                                                                                                                                     press Next to continue




                                    Capture    Tower         698dlsctower0l                                               <    Back                Recapture




       Follow the steps below to bypass                              the      thumbprint collection                                 process       on systems used at mega center

       locations          Figure 4b

                      a    Select      Dual Thumbs from the drop down

                      b    Select      Annotate                   and Skip Unable to PrintUP

                      c    Select      the     Next button on the left side of the screen                                                        and proceed to the next page




                                                                                                                                                                                a      Enxrwa

                                     TOT POL     Name H0RTONUARK        CNIISTOPtER        TCN   $   WO1132     TIN       OL1702477I


            IDStaps
                                               Amotate any mnarng    tpv`enags   and   cape a mandatory       anapes
                                                                                                                                                                               Fig   4b
                                               Slap kneges




                          QD                   Left   Next

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                                                                                                                               Rrrttt

                                                                                                                                x x
                                                                                                                                        Hand



                                                                                                     SF   v Unable            Prx     UP
                                                                                                                                        x
                                                                                                                     to




                                                                                                     0W
                                                                                                     Override


                                                             IL
                                                                                                                Arnpreatoo
                                                                                                                Vnabb to            Fruit   UP




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                        Election                   Identification                         Certificate             Issuance Procedures




    After capturing                the images signature and photograph                                 only    select the        Refresh button       to   proceed

    to the the          Scan Documents                   screen       Figure 4c




       Photo Fingerprints and Signature
                                                                                                                                          Fig 4c



       Please   click    Refresh    after   completing   Image   Capture    Process




5   The Scan Documents                          screen    is   the only location during the process                    where the documents              will   be

    scannedAll           documents                ie     election          identification        certificate   application            proof of identity and    US
    citizenship          must be scanned                   at this         point      Figure     5
                a         If   the transaction              needs          to   be cancelled         select the   Cancel Transaction button
                b        Select        the      Continue            button          to   proceed with the transaction




            LO                                             ■                    1           ■1                              1    ■J




                                                                                                                                                   Fig 5




     REMEMBER                          All Ideiitificatioii                          documents must be scanned                              at this point




6   On the Transaction                      Completed            Successfully            screen

                a          Select       the Print Temporary                         EICCard button        to   cue the printer to print a temporary

                         election           identification          certificate          card and

                b        Select        the      Continue            button          after the    Temporary        EIC has       been   successfully   printed

                          Figure            6




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                                Election                           Identification                                 Certificate               Issuance Procedures




                                                                                                                     4               1                                                               1     7

    Transaction Completed Successfully                                                                                                                                                                     Fig 6




7   Ask the applicant                          to         review the information                                ie name and      mailing          address and confirm                                the

    information                   is    correct               on the Temporary                         EIC The applicant and employee                             will             sign     the      Temporary

    EIC

    Inform           the applicant the Temporary                                                 Election Identification         Certificate         can be used as photo

    identification                      for voting                 purposes                 until    they receive         the card    in    the   mail




                                                                                                        Fig 7



                                                                                                                                     TtT4    5rPkRTUFrJT    rjr   1311   91   Il   UPrY
                                                                                                                                                  =EC7     ON     C=TIICATE                  CAFC    IC   LNTI 11   2D13



       TVI    STF Ie=S
              5UP CdYY              3




                                                                                                                                                                   E•KUPJ          =F   Sk13GC               EC




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                                                                                                                                                                   VOTER




       FOR ELECTION               PURPOSES         ONLY

       CANNOT            BE   USED AS      IDENTIFICATION




                                                                                                                                                                ILLv=          7E       N        I




       rL+lN       iO     ES



       EKE    4



       STi4        a FE=




                                                                                                                                     EVPY=E




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                                Election                         Identification                 Certificate                     Issuance Procedures




Steps to ReIssue an Election identification                                             certificate

Follow the steps 1 and 2 listed above                                         to search      for the   applicant             If   the applicant               has an   election

identification                certificate                    on record and wants to replace a lost card select                              Go and proceed                      to the

applicants             election                identification            certificate    record    screen



        a       To reissue a lost election identification                                     certificate

                         In    the      Transaction                  Eligibility    box select the ReIssue Election identification                                  certificate      and

                         follow the steps outlined                            above     to   reissue the election                 identification               certificate

        b       To remake a card

                         Follow steps 1 and 2 to search                                for the applicant            When the applicants                         record     is   found    on

                         the        EIC select the Remake                          Election Certificate           link




 RW•S       led Apq   Cant     TWENTYVOTIR


    IltENI       1    VOTER
                                                                                                                                  Transaction   Eligibility

                       Election Cerbscate           likon0    34295931                                                        Election      Certificate
                       Data   d BirM    65     16   1   4S
                       Sox    FEUE
                       Eye    COW   E01E



        Basic   Information                                                                            Etlction    Clrtincatl     Card   Information




                                                                                                                                                 Vien   Transacr       c
                                                                                                                                                        5931


                                                                                                                                                  12    92011

                                                                                                                                                   c    c2011

                                                                                                                                                  18619181120149328424


        Physical
                                                                                                                                                 0610    2018
                      Olscripticn




                                                                                                       Physical    Address




On the Remake Card screen                                          select the      reason from the drop down                      menu



    Selected     Applicant          FOUR        VOTER



    Remake Card
        Reasons




     CARD QA FAILED VENDOR CREDIT
     CLERICAL ERROR
     CUSTOMER NEVER RECEIVED CARD
     SUPERVISOR APPROVAL
                                                                            rice Protection
    SYSTEM PROCESSING ERROR
                                    e      i
                 Public        Safety


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                          Election             Identification         Certificate   Issuance Procedures




Confirm the request and select the Continue                         button


                                       TASKS               SEARCH     f                           CERTIFICATE


   Selected   Applicant   FOUR   VOTER



   Remake Card Request Confirmation
   Remake     EC   information has   Gel submitted   succennfoIIv




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